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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

IN RE: FEMA                                                  MDL NO. 1873
FORMALDEHYDE
PRODUCT LIABILITY LITIGATION                                 SECTION “N-5"

                                                             JUDGE ENGELHARDT

                                                             MAG. JUDGE CHASEZ

THIS DOCUMENT IS RELATED TO:
Kennyetta S. Walker, et al v Scotbilt Homes, Inc..,
et al., Case No. 2:10-cv-270

______________________________________________________________________________

 PLAINTIFFS’ UNOPPOSED MOTION TO EXTEND TIME TO PERFECT SERVICE
                              ON DEFENDANTS
______________________________________________________________________________

       COME NOW PLAINTIFFS, Kennyetta S. Walker, individually and on behalf of minor

children S. J. J., D. Y. M., K. J. M. and A. W., through undersigned counsel and respectfully

request additional time within which to perfect service on all Defendants. In support thereof,

Plaintiffs show the following:

       1.      The Complaint was originally filed in the Southern District of Mississippi on

December 8, 2009.

       2.      Plaintiffs have been unable to serve the Defendants to date because Plaintiffs have

been unable to identify their contractor and pursuant to Pretrial Order 55, summons could not be

issued. Plaintiffs have undertaken the following efforts to identify their contractor: submitted

their information to FEMA for matching (FEMA’s response only identified their manufacturer);

submitted a request for Plaintiffs’ IA File; and counsel for the Plaintiffs have re-submitted

Plaintiffs’ information to FEMA. This Court previously considered these efforts and granted

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Plaintiffs an extension of time to identify the Contractor. Plaintiffs respectfully request a

commensurate amount of time to serve the Defendants.

           3.     Lamont Domingue, counsel for Scotbilt Homes, Inc., David Kurtz, liaison

counsel for the Contractor Defendants, and Jonathan Waldron of the United States Department

of Justice, have indicated that they do not oppose Plaintiffs’ motion.

           WHEREFORE PREMISES CONSIDERED, the Plaintiffs respectfully move this Court

to extend the deadline by additional sixty (60) days to insure that service is perfected on all

parties.

           Respectfully submitted this the 7 day of April, 2010.

                                                       By:            s / Rose M. Hurder
                                                                      Rose M. Hurder

OF COUNSEL:

John Hawkins, Esq., MS Bar No. 9556
Edward Gibson, Esq., MS Bar No. 100640
Rose M. Hurder, Esq., MS Bar No. 103040
HAWKINS, STRACENER & GIBSON, PLLC
153 Main Street
Bay St. Louis, MS 39520
Ph. (228) 469-0785; Fx: (228) 467-4212
rose@hsglawfirm.net




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                                CERTIFICATE OF SERVICE

       I hereby certify that on April 7, 2010 I electronically filed the foregoing with the Clerk of

Court by using the CM/ECF system which will send a notice of electronic filing to all counsel of

record who are CM/ECF participants. I further certify that I mailed the foregoing document and

the notice of electronic filing by firs-class mail to all counsel of record who are non-CM/ECF

participants.



                                                                     s / Rose M. Hurder
                                                                     ROSE M. HURDER




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